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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI

                                       )
 ANGELA GATERMAN and                   )
 ROBERT A. PAULI, JR.,                 )        No. 17-CV-2837-JCH
                                       )
       Plaintiffs,                     )
                                       )   [PROPOSED] ENTRY OF DEFAULT
 v.                                    )
                                       )
 KAVULICH & ASSOCIATES,                )
 P.C. and GARY KAVULICH,               )
                                       )
       Defendants.                     )
                                       )
                                       )
                                       )


       I, GREGORY J. LINHARES, Clerk of the United States District Court

 for the Eastern District of Missouri, do hereby certify:

       1.     That this action commenced on December 6, 2017 with the filing

 of Summonses and a Compliant;

       2.     That a copy of the Summons and Complaint was served on

 Defendant GARY KAVULICH by delivering copies to a person of suitable age

 and discretion at said Defendant’s actual place of business, and, further, by

 mailing copies to said Defendant’s actual place of business on February 28,

 2018, in compliance with N.Y. C.P.L.R. § 308(2), and that proof of such

 service was filed on March 6, 2018;

       3.     That a copy of the Summons and Complaint was served on

 Defendant KAVULICH & ASSOCIATES, P.C. by personally serving Gary
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 Kavulich, an officer of said Defendant, on March 6, 2018, in compliance with

 N.Y. C.P.L.R. § 311(a)(1), and that proof of such service was filed on March

 22, 2018;

       4.     That the docket entries indicate that neither Defendant has filed

 an Answer or otherwise moved with respect to the Complaint herein.

       For these reasons, default is hereby entered against Defendants

 KAVULICH & ASSOCIATES, P.C. and GARY KAVULICH.


 Dated: St. Louis, Mo.
        April _____, 2018


                                               GREGORY J. LINHARES
                                               Clerk of Court

                                               By __________________________
                                                     Deputy Clerk
